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                              EXHIBIT Y
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LONG ISLAND / SUFFOLK
New groundwater-monitoring wells for Islip's tainted
Roberto Clemente Park
                                                        Preparation starts as additional groundwater monitoring
                                                        wells are installed inside Roberto Clemente Park in
                                                        Brentwood on Tuesday, Jan. 6, 2015. Photo Credit:
                                                        James Carbone




By SARAH ARMAGHAN
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Work on two new groundwater-monitoring wells began at Roberto Clemente Park Tuesday -- in
addition to three installed in September -- following a state Department of Environmental
Conservation directive sent to Islip Town officials six weeks ago.


The new wells -- one at the west end of the park and another at the southeast corner -- will capture
water flowing downstream from where some of the estimated 50,000 tons of toxin-laced materials
were dumped on former soccer fields, according to Greg Menegio, department manager with
Enviroscience Consultants Inc.


Enviroscience, of Ronkonkoma, was hired by the Town of Islip last spring to aid in remediation plan
preparations for the park.

                                                                  The DEC requested the new wells to
                                                                  test groundwater in different
                                                                  sampling intervals, at 30 feet and 60
                                                                  feet, Menegio said.

                                                                  "This is really the opportunity to take
                                                                  a look prior to the removal to try and




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                                                                   get a good understanding of the
                                                                   groundwater at the property at this
                                                                   time and moving forward," he said.


The samples will be screened for pesticides, herbicides and other toxins. Harmful contaminants such
as asbestos, lead, copper, zinc and cobalt have already been detected in the debris.


Clemente Park is one of four dumping sites identified in and around Islip Town -- including a
subdivision for veterans in Islandia, a sensitive wetland in Deer Park and a private lot in Central Islip
-- by Suffolk County District Attorney Thomas Spota. In early December, six men were indicted on
various charges.

                                                                The new wells, costing the town about
                                                                $40,000, are being installed by Land,
   Get the Breaking News newsletter!                            Air, Water Environmental Services Inc.
                                                                based in Center Moriches.
                                                                Enviroscience will handle the testing.
     Email address                         Sign up              Samples will be taken this week and
                                                                sent to York Analytical Laboratory of
                                                                Stratford, Connecticut, for analysis,
                                                                with results expected in a few weeks,
                                                                Menegio said.


In August, the DEC approved the first round of groundwater monitoring wells. Those three wells --
one at the north end of the park acting as a control, another just southeast of the soccer fields and
one at the south end below the recharge basin -- were installed in late September. The results from
the initial round of testing at those wells came up clean.


Town officials had wanted the first trucks filled with debris on the way out of the park starting at the
end of November. Now, with the cleanup yet to begin, some town officials have criticized the DEC for
not approving a remediation plan.

                                                                   "The DEC is creating roadblocks for
                                                                   the town. . . . There are hoops the
                                                                   DEC is making us jump through that
                                                                   we don't think legally we should have




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                                                                 to do," said Councilwoman Trish
                                                                 Bergin Weichbrodt.


                                                                 The town submitted its 250-page
                                                                 remediation plan for the park on
Sept. 5. Town officials said they expect to send a revised plan to the state by week's end. The
groundwater monitoring wells must be in place and running, and the full remediation plan must be
approved by the state DEC before removal work can begin.


The state DEC did not respond to a request for comment.


Islip has already spent more than $300,000 on remediation planning and installing the groundwater
wells. The town board has authorized up to $6 million in bonds to pay for the cleanup.


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